     Case 7:20-cv-00170-MCR-GRJ Document 178 Filed 12/13/21 Page 1 of 2




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION



IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS
LIABILITY LITIGATION                                 Case No.: 3:19md2885


This Document Relates to:
Theodore Elwood Finley, 7:20cv170-MCR-GRJ
___________________________________/


                                     JUDGMENT

      Final judgment is entered in favor of the Plaintiff, THEODORE ELWOOD

FINLEY, and against Defendants, 3M COMPANY, 3M OCCUPATIONAL

SAFETY LLC, AEARO HOLDING LLC, AEARO INTERMEDIATE LLC,

AEARO LLC, and AEARO TECHNOLOGIES LLC, in the amount of One

Million, Five-Hundred Thousand Dollars ($1,500,000.00) for past pain and

suffering, Six Million Dollars ($6,000,000.00) for future pain and suffering, for a

total of Seven Million, Five-Hundred Thousand ($7,500,000.00) in compensatory

damages plus Fifteen Million ($15,000,000.00) in exemplary damages, for a total

award of Twenty-Two Million, Five-Hundred Thousand ($22,500,000.00),

together with costs taxed against Defendants and post-judgment interest to be

calculated from December 13, 2021.
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                                       JESSICA J LYUBLANOVITS,
                                       CLERK OF COURT


December 13, 2021                            s/Samantha Buckhalt
DATE                                         DEPUTY CLERK
